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                                                                            l}lAY    04   2017
                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS                   THOMAS G. BRUTON
                              EASTERN DMISION                        CLERK, U.S. DISTRICT COURT


UNITED STATES OF AMERICA                        NO
                                          )
                                          )           LTCR                          2 9'7
             v.                           )     Violation: Title L8, United States
                                          )     Code, Section 1623(a)
BEENA PATEL                               )
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                                      COI]iYT OI\'E

      The SPECIAL AUGUST 2015 GRAND JURY charges:

       1.    At times material to this Indictment:

             a.     The SPECIAL AUGUST 2015 GRAIID JIIRY was conducting an

investigation of possible violations of federal criminal law in connection with the

purchasing ofjobs and promotions within the Office of the Clerk of the Circuit Court

of Cook County.

             b.     Defendant BEENA PATEL was an Associate Clerk in the Office

of the Clerk of the Circuit Court of Cook County.

             c.     Individual A was the Clerk of the Circuit Court of Cook County.

 .           d.     In August zUlL,Individual B, a fomer employee of the Office of

the Clerk of the Circuit Court of Cook County, returned to Chicago after living in

India for several years and purportedly loaned $t5,O0O to Goat Masters Corporation,

whose President was Individual A's husband. On or about September 8, 2014, the

Offi.ce of the Clerk of the   Circuit Court of Cook County rehired Individual B in the

position of Clerk Senior IV in the Civil Appeals Division at the Daley Center.

             e.     On or about August 6, zDl5,Individual B transferred from the
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Civil Appeals Division at the Daley Center to a new position as a Court C1erk I in the

Skokie Courthouse.

              d.       On or about August L2,20L5,Iaw enforcement agents interviewed

Individual B in the presence of Individual B's spouse. On or about September       15,

2015, Iaw enforcement agents interviewed Individual B's spouse. On           or about
September 20,20L5, law enforcement agents once again interviewed Individual B in

the presence of Individual B's spouse and served Individual B with a Grand Jury

subpoena to testifir. On October     1, zllS,Individual B testified in the SPECIAL
AUGUST 2OI5 GRAND JURY.

              f.       The following matters, among others, were material to the Grand

Jury's investigation:

              .     Whether BEENA PATEL knew that Individual B had spoken to law
                    enforcement;

              .     Whether BEENA PATEL knew that Individual B had testified in the
                    grand jury; and

              o     When BEENA PATEL last spoke with Individual B.

       2.     On or about October 15, 2015, at Chicago, in the Northern District of

Illinois, Eastern Division,

                                    BEENA PATEL,

defendant herein, was placed under oath prior to testifirirrg before the SPECIAL

AUGUST      2O1r5   GRAND ruRY, was advised that her testimony was subject to the

penalties of perjury, and knowingly made a false material declaration during her

testimony by responding to questions as follows:
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       Q:      To your knowledge, has [Individual B] spoken to law
               enforcement?

       A:      I don't know.

       Q:      To your knowledge, has he testified in the Grand Jury?

       A:      I don't know.

       Q:      So you've had no conversations   with [Individual B]?

       A:      No.

       Q:      When is the last time you spoke with [Individual B]?

       A:'     When he was transferreil from Civil Appeals Division to Skokie
               courthouse.

       Q:      When was that?

       A:      Approximately tvro months ago.

WHEREAS, in truth and fact:

       o BEENA PATEL knew that Individual B had spoken to                   law
            enforcement;

       .    BEENA PATEL knew that Individual B had testified in the grand
            jury; and

       .    BEENA PATEL had spoken to Individual B on or after September
            20,20L5, when he was served with a subpoena to testiff before the
            Grand Jury;

 In violation of fitle 18, United States Code, Section 1623(a).
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                                     COI]I\TT TWO

       The SPECIAL AUGUST 2015 GRAND JURY turther charges:

       1.     At times material to this Indictment:

              a.      The allegations in paragraphs 1(a) through 1(c)'of Count One of

this Indictment are incorporated here.

              b.      Individual A collected campaign contributions through her entity

called "Friends of [Individual A]." Friends of [Individual A] held several fundraisers

each year, and attendees were generally required       to pay an entrance fee, often

referred to as a "ticket."

              c.      The following matters, arnong others, were material to the Grand

Jur5r's investigation:

              o    Whether BEENA PATEL sold tickets to Friends of [Individual A]
                   fundraisers to employees of the Clerk's Office; and

              .    Whether BEENA PATEL knew that other employees of the Clerk's
                   Office sold tickets to and collected money from employees of the
                   Clerk's Office for Friends of [Individual A] fundraisers.

       2.     On or about October L5, 20t5, at Chicago, in the Northern District of

Illinois, Eastern Division,

                                    BEENA PATEL,

defendant herein, was placed under oath prior to testifiring before the SPECIAL

AUGUST 20L5 GRAND ruRY, was advised that her testimony was subject to the

penalties of perjury, and knowingly made a false material declaration during her

testimony by responding to questions as follows:




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 Q:    And a moment ago [Assistant United States Attorney] asked you
       about buyrng tickets for birthday events and the fashion show
       and things like that?

A:     Yes.

 Q:    You testified earlier that you supervise approximately 500
       employees?

A:     Close to   it, yeah.

 Q:    Have you ever asked any of the employees who work for you         if
       they wanted to buy tickets to any of these events?

A:     No.

Q:     You're sure about that?

A:     Yes.

Q:      In all of your years"at the clerk's office?

A:     If they ask me something, I would say that there is an event
       coming up, but not that I have talked to them, no.

Q:     Have you ever personally sold tickets?

A:     No.

Q:     So when employees   want to buy tickets, how do they go about
       buyrng these tickets?

A:     They go to the Friends of [Individual AJ website or they have a
       Friends of [Individual A] meeting. At that time they can get
       that ticket.

Q:     So none of the employees at the clerk's office collect money or
       hand out tickets?
                                                                              J
A:     No.
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WHEREAS, in truth and fact:

    o   BEENA PATEL had sold tickets to Friends of [Individual A] fundraisers
        to employees of the ClerICs Office; and

    .   BEENA PATEL knew that other employees of the Clerk's Office sold
        tickets to and collected money for Friends of [Individual A] fundraisers
        from other employees of the ClerHs Office;

In violation of fitle 18, United States Code, Section 1623(a).




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                                      COI.]hI'T THREE

         The SPECIAL AUGUST 2015 GRAND JURY further charges:

         1.    At times material to this Indictment:

              a.       The allegations in paragraphs 1(a) through 1(c) of Count One are

incorporated here.

              b.       Individual C was the Chief of Staffto Individual A.

              c.       Individual D was an employee of the Office of the Clerk of the

Circuit Court of Cook County. On or about May 7,2007 ,a donation of approximately

$5,OOO   was made in the name of Individual D's brother to Friends of llndividual A].

              d.       On or about August 17,2OO7,Individual D received a promotion

which increased her salary

              e.       On or about December 9, 2009, a donation of approximately

$5,000 was made in the rrzrme of Individual D's brother to Friends of [Individual A].

              f.       On or about January 19, 2010, Individual D received a promotion

which increased her    sa1ar5r.

              g.       On or about April 15, 2015, Individual D communicated to

Individual A, Individual C, and defendant BEENA PATEL that she desired a

promotion

              h.       On or about Jrrly 24, 2AL5, defendant BEENA PATEL
communicated       in a text message to Individual C to 'help" Individual D because
Individual C had "done    a   lot for us including her brother." Defendant BEENA PATEII
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also told Individual C in that text message that, "[My] job is to support you and vice

versa."

               i.          On or about September 10, 20L5, defendant BEENA PATEL

communicated to Individual D          in a text   message   that stated "Clerk   [Jast name of

Individual Al just called to say that you got merit increase. Keep mum. Love you She

will   caII you." seconds later, defendant BEENA PATEL sent to Individual D another

text message that stated, "Don't tell her that you know this act surprise."

               j.          The following matters, among others, were material to the Grand

Jury's investigation:

               . *hether BEENA      PATEL asked Individual C to help Individual D
                    obtain a promotion because Individual D's brother had donated
                    money to Friends of [Individual A]; and

               .    Whether BEENA PATEL knew that Individual D had received a
                    merit raise.

          2.    On or about July 14, 2016, at Chicago, h the Northern District of

 Illinois, Eastern Division,

                                        BEENA PATEL,

 defendant herein, was placed under oath prior to testi$ring before the SPECIAL

AUGUST 20t5 GRAND JURY, was advised that her testimony was subject to the

 penalties of perjury, and knowingly made a false material declaration during her

testimony by responding to questions as follows:

          Q:    In fact, you told [Individual C] that [Individual D] should be
                promoted because her brother had done a lot for the clerk's
                offi.ce?

          A:    No, I would never do that.
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Q:     You would never do that?

A:     I would not do that.

Q:     Last year [Individual D] got a merit raise, is that comect?

A:     I wouldn't know. I wouldn't know. I don't know exactly
       whether she got or not. I don't know.

Q:     You wouldn't know that?

A:     No,   I don't.

Q:     In fact, you knew that she was getting a raise before she did, didn't you?

A:     No,   I did not.
                                               ****{<



Q:     Okay. But just a minute ago, you said that you don't know
       whether [IndividualiD] received a merit raise last year?

A:     I don't remember.

Q:     Okay. And you don't remember [Individual A] letting you know that
       [Individual D] was receiving a raise last year?

A:     I wouldn't know because I don't remember this. I don't.

Q:     And, in fact, you told [Individual D] that she was getting a raise, and
       that she should act surprised when [Individual A] contacted her,
       isn't that correct?

A:     I don't think      so.   I would never do that. Why?

Q:     So you   didn't tell her to keep quiet?

A:     No.




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      WHEREAS, in truth and fact:

      .   BEENA PATEL asked Individual C to help Individual D obtain a
          promotion, and, in doing so, BEENA PATEL stated that Individual D's
          brother had "done a lot for us";

      .   BEENA PATEL knew that Individual D had received a merit raise; and

      o   BEENA PATEL told Individual D that she had received a merit raise, and
          to "keep mum'and "act surprise[d]" when Individual D was inforrned of the
          raise by Individual A;

      In violation of fitle 18, United States Code, Section 1623(a).


                                                    A TRUE BILL:



                                                    FOREPERSON


JOEL R. LEVIN
Acting United States Attorney




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